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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

       v.                                                         DECISION AND ORDER
                                                                       08-CR-349S-10
ALVARO SOTO PAZ

                            Defendant.


       1.     On September 17, 2009, the Defendant entered into a written plea

agreement (Docket No. 107) and pled guilty to a One Count Superseding Information

(Docket No. 105) charging a violation of Title 18, U.S.C. Section 4 (misprison of a felony).

       2.     On September 17, 2009, the Honorable Hugh B. Scott, United States

Magistrate Judge, filed a Report and Recommendation (Docket No.108) recommending

that Defendant’s plea of guilty be accepted and the Defendant adjudicated guilty.

       3.     This Court has not received objections to the Report and Recommendation

in accordance with 28 U.S.C. §636(b)(1)(C) and Local Rule 58.2(a)(3).

       4.     This Court has carefully reviewed de novo Judge Scott’s Report and

Recommendation, the plea agreement, transcript of the proceeding, and the applicable

law. Upon due consideration, this Court finds no legal or factual error in Judge Scott’s

Report and Recommendation, and will accept Judge Scott’s recommendation that

Defendant’s plea of guilty be accepted and that the Defendant be adjudicated guilty as

charged.

       IT HEREBY IS ORDERED, that this Court accepts Judge Scott’s Report and

Recommendation (Docket No. 108) in its entirety, including the authorities cited and the

reasons given therein.
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      FURTHER, that the plea of guilty of Alvaro Soto Paz is accepted, and he is now

adjudged guilty of Title 18, U.S.C. Section 4.

      SO ORDERED.


Dated: December 20, 2009
       Buffalo, New York


                                                       /s/ William M. Skretny
                                                       WILLIAM M. SKRETNY
                                                     United States District Judge




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